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		OSCN Found Document:RYDER v. STATE

					

				
  



				
					
					
						
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				RYDER v. STATE2021 OK CR 36Case Number: PCD-2020-613Decided: 10/21/2021JAMES CHANDLER RYDER, Petitioner v. THE STATE OF OKLAHOMA, Respondent
Cite as: 2021 OK CR 36, __  __

				

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OPINION DENYING SECOND APPLICATION FOR
POST-CONVICTION RELIEF AND DENYING MOTION TO STAY 
PROCEEDINGS




LUMPKIN, JUDGE: 


¶1 Petitioner James Chandler Ryder was convicted of two (2) counts of First Degree Murder (21 O.S.1991, § 701.7), Case No. CF-99-147, in the District Court of Pittsburg County. In Count I, the jury recommended a sentence of life imprisonment without the possibility of parole. In Count II, the jury found the existence of two (2) aggravating circumstances and recommended the punishment of death. The Honorable Thomas M. Bartheld, District Judge, sentenced accordingly. This Court affirmed the judgment and sentence in Ryder v. State, 2004 OK CR 2, 83 P.3d 856. Petitioner's first application for post-conviction relief was denied by this Court in Ryder v. State, (Okl.Cr.2004) opinion not for publication, Case No. PCD-2002-257. The United States Supreme Court denied certiorari in Ryder v. Oklahoma, 543 U.S. 886 (2004). On September 8, 2020, Petitioner filed this second and successive application for post-conviction relief.

¶2 The Capital Post-Conviction Procedure Act, 22 O.S.2011, § 1089(D)(8) provides for the filing of successive post-conviction applications. The statutes governing our review of second or successive capital post-conviction applications provide even fewer grounds to collaterally attack a judgment and sentence than the narrow grounds permitted in an original post-conviction proceeding. See Sanchez v. State, 2017 OK CR 22, ¶ 6, 406 P.3d 27, 29.

¶3 In his sole proposition of error, Petitioner claims the District Court of Pittsburg County lacked jurisdiction to try him. Relying upon McGirt v. Oklahoma, 591 U.S. __, 140 S.Ct. 2452 (2020), Petitioner argues that the State of Oklahoma did not have jurisdiction to prosecute, convict, and sentence him for the murders of Daisy and Sam Hallum, citizens of the Choctaw Nation, when such crimes occurred within the boundaries of the Choctaw Reservation.

¶4 Although this Court initially granted Petitioner relief based upon this proposition after an evidentiary hearing in the district court,1 we subsequently decided State ex rel. Mark Matloff, District Attorney v. The Honorable Jana Wallace, Associate District Judge, 2021 OK CR 21, __ P.3d __, and denied retroactive application of McGirt to cases on collateral review. Thereafter, prior to issuance of the mandate, the order granting post-conviction relief was withdrawn in this case.2

¶5 In Matloff, we began our consideration of the retroactivity issue by finding, "McGirt announced a rule of criminal procedure . . . to recognize a long dormant (or many thought, non-existent) federal jurisdiction over major crimes committed by or against Indians in the Muscogee (Creek) Reservation." Id., 2021 OK CR 21, ¶ 26. This rule affected only the manner of deciding a criminal defendant's culpability; therefore, it was a procedural ruling. Id., 2021 OK CR 21, ¶ 27. We further found that the McGirt rule was new because it broke new ground, imposed new obligations on both the state and the federal governments and the result was not required by precedent existing when the conviction at issue in Matloff was final. Id., 2021 OK CR 21, ¶¶ 28-32.

¶6 In reaching our decision on the non-retroactivity of McGirt, this Court held that our authority under state law to constrain the collateral impact of McGirt and its progeny "is consistent with both the text of the opinion and the Supreme Court's apparent intent. . . . The Supreme Court itself has not declared that McGirt is retroactive to convictions already final when the ruling was announced." Id., 2021 OK CR 21, ¶ 33. Ultimately, we held in Matloff that "McGirt and our post-McGirt reservation rulings shall not apply retroactively to void a final state conviction" Id., 2021 OK CR 21, ¶ 40.

¶7 Applying Matloff to the instant case, we find Petitioner's claim in this successive post-conviction proceeding warrants no relief.

DECISION

¶8 Petitioner's Second Application for Post-Conviction Relief and Motion to Stay Proceedings are DENIED. Pursuant to Rule 3.15, Rules of the Oklahoma Court of Criminal Appeals, Title 22, Ch.18, App. (2021), the MANDATE is ORDERED issued upon the delivery and filing of this decision.

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			APPEARANCES BEFORE THE DISTRICT COURT

			MEGHAN LeFRANCOIS
			MICHAEL W. LIEBERMAN
			ASST. FEDERAL PUBLIC
			DEFENDERS, WESTERN
			DISTRICT OF OKLAHOMA
			215 DEAN A. McGEE, STE. 707
			OKLA. CITY, OK 73102
			COUNSEL FOR DEFENDANT

			CHUCK SULLIVAN
			DISTRICT ATTORNEY
			109 E. CARL ALBERT PRKWY
			McALESTER, OK 74501

			MIKE HUNTER
			ATTORNEY GENERAL
			OF OKLAHOMA
			JULIE PITTMAN
			CAROLINE HUNT
			ASST. ATTORNEYS GENERAL
			313 N.E. 21ST ST.
			OKLAHOMA CITY, OK 73105
			COUNSEL FOR THE STATE

			JACOB KEYES
			P.O. BOX 1210
			DURANT, OK 74702
			COUNSEL FOR THE CHOCTAW
			NATION JUDICIAL BRANCH

			&nbsp;

			&nbsp;

			&nbsp;

			OPINION BY: LUMPKIN, J.
			ROWLAND, P.J.: Concur
			HUDSON, V.P.J.: Concur
			LEWIS, J.: Concur
			
			
			APPEARANCES ON APPEAL

			PATTI PALMER GHEZZI
			MEGHAN LeFRANCOIS
			MICHAEL W. LIBERMAN
			EMMA V. ROLLS
			ASST. FEDERAL PUBLIC
			DEFENDERS, WESTERN
			DISTRICT OF OKLAHOMA
			215 DEAN A. McGEE, STE. 707
			OKLA. CITY, OK 73102
			COUNSEL FOR PETITIONER

			MIKE HUNTER
			ATTORNEY GENERAL
			OF OKLAHOMA
			JULIE PITTMAN
			ASST. ATTORNEY GENERAL
			313 N.E. 21ST ST.
			OKLAHOMA CITY, OK 73105
			COUNSEL FOR THE STATE

			J. RENLY DENNIS
			ATTORNEY AT LAW
			512 N. BROADWAY, STE. 300
			OKLA. CITY, OK 73102

			LINDSAY DOWELL
			BRIAN DUNKER
			CHOCTAW NATION
			OF OKLAHOMA
			1802 CHUKKA HINA
			DURANT, OK 74701
			ATTORNEYS FOR AMICUS
			CURIAE CHOCTAW NATION
			
		
	



FOOTNOTES


1 Ryder v. State, 2021 OK CR 11, 489 P.3d 528.



2 Ryder v. State, 2021 OK CR 25, __ P.3d __.




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	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	Oklahoma Court of Criminal Appeals Cases
&nbsp;CiteNameLevel

&nbsp;2004 OK CR 2, 83 P.3d 856, RYDER v. STATEDiscussed
&nbsp;2017 OK CR 22, 406 P.3d 27, SANCHEZ v. STATEDiscussed
&nbsp;2021 OK CR 11, 489 P.3d 528, WITHDRAWNCited
&nbsp;2021 OK CR 21, 497 P.3d 686, STATE ex rel. MATLOFF v. WALLACEDiscussed at Length
&nbsp;2021 OK CR 25, 495 P.3d 669, RYDER v. STATECited
Title 21. Crimes and Punishments
&nbsp;CiteNameLevel

&nbsp;21 O.S. 701.7, Murder in the First DegreeCited
Title 22. Criminal Procedure
&nbsp;CiteNameLevel

&nbsp;22 O.S. 1089, Post-Conviction Relief for Death Penalty Conviction - Grounds for AppealCited


	
	








				
					
					
				

		
		




	
		
			
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